          Case 20-03195-sgj Doc 13 Filed 02/23/21              Entered 02/23/21 14:56:51           Page 1 of 2
sumre (rev. 04/20)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §
                                                           §    Case No.: 19−34054−sgj11
                                         Debtor(s)         §    Chapter No.: 11
Official Committee of Unsecured Creditors                  §
                                         Plaintiff(s)      §    Adversary No.:      20−03195−sgj
       vs.                                                 §
CLO Holdco, Ltd.                                           §
Charitable DAF Holdco, Ltd.                                §
Charitable DAF Fund, LP                                    §
Highland Dallas Foundation, Inc.                           §
The Dugaboy Investment Trust                               §
Grant James Scott III, Individually and in his capacity    §
as the trustee of The Dugaboy Investment Trust and as
the trustee of The Get Good Nonexempt Trust
James D. Dondero
                                         Defendant(s)


                     REISSUED SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Paige Holden Montgomery, Plaintiff's attorney (or if plaintiff
is not represented by counsel, upon plaintiff), whose address is

           Sidley Austin LLP
           2021 McKinney Avenue, Suite 2000
           Dallas, TX 75201

either a motion or an answer to the complaint which is now served upon you. If you elect to respond first by motion,
as you may pursuant to Bankruptcy Rule 7012, that rule governs the time within which your answer must be served.
Otherwise, you are required to serve your answer upon plaintiff's attorney (or upon plaintiff if plaintiff is not
represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the following date
prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve an answer to the
complaint within 35 days after issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date and prescribed by the court: N/A

The motion or answer served by you must be filed with this court either before service or within a reasonable time
after service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED BY THE COMPLAINT.



DATED: 2/23/21                                  FOR THE COURT:
                                                Robert P. Colwell, Clerk of Court

                                                by: /s/T. Ellison, Deputy Clerk
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In Re: Official Committee of Unsecured Creditors v. CLO Holdco, Ltd. et al
Case No. 19−34054−sgj11 −11
Adv. No. 20−03195−sgj

                                      SUMMONS SERVICE EXECUTED


I,___________________________________________________________________________

of**_________________________________________________________________________

certify:



     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;

     That on the __________ day of ____________________________________,_______ I served a copy of the
within summons, together with the complaint filed in this proceeding, on




the defendant in this proceeding, by {describe here the mode of service}




the said defendant at




I certify under penalty of perjury that the foregoing is true and correct.



           Executed on ___________________ _____________________________
                             (Date)                               (Signature)



           **____________________________________________________________________
             State mailing address
